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                         EXHIBIT B
        Case 2:20-cv-02924-DMG-PVC Document 13-13 Filed 06/30/20 Page 2 of 3 Page ID #:141




On Sep 26, 2018, at 4:01 PM, Simpson, Andrea <asimpson@radaronline.com> wrote:

      NDA will have to be a bit vague given I don t know names.

      I ll fill in what I know.

      From: "Robertson, James" <jrobertson@amilink.com>
Date:
 Case Wednesday,  September 26, 2018Document
        2:20-cv-02924-DMG-PVC            at 12:53 PM13-13 Filed 06/30/20 Page 3 of 3 Page ID #:142
To: "Simpson, Andrea" <asimpson@radaronline.com>, "Tillett, Andy" <atillett@amilink.com>
Subject: Re: another great story - crossing fingers


A Bill Gates-type and a B-list actress... fine to send NDA.

From: Simpson, Andrea
Sent: Wednesday, September 26, 2018 3:50:22 PM
To: Robertson, James; Tillett, Andy
Subject: FW: another great story - crossing fingers

Hi,

Wanted to add on to this.

We can discuss after deadline.

My source says his friend pitched Daily Mail behind his back and they have seen the texts etc. They offered him
$300k my source was kept out of it so was taken by surprise.

My source is working with the guy who has all the info./is the friend of the billionaire.

Source asked for an NDA and he ll show me what he has so possibly we can make an estimated offer -- and then we
can see it all.
